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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF VIRGINIA
                                              Alexandria Division


                                                       )
      J.E.C.M., e/a/.,                                 )
                                                       )
                    Plaintiffs/Petitioners,            )   Case No.: 1:18-cv-00903(LMB/MSN)
                                                      )
                    V.                                )
                                                      )
      JONATHAN HAYES,et al.,                          )
                                                       )
                    Defendants/Respondents.            )
                                                       )

                   ORDER GRANTING PLAINTIFFS' MOTION FOR WITHDRAWAL OF
                              MICHELLE LAPOINTE AS COUNSEL


                UPON CONSIDERATION of Plaintiffs' Motion for Withdrawal of Michelle

       Lapointe as Counsel, and Local Rule 83.1(G), and having seen no opposition filed, it is

       hereby

                ORDERED that Plaintiffs' Motion to Withdraw is GRANTED. Thus, Michelle

       Lapointe is no longer counsel of record for plaintiffs in the above-styled action. Plaintiffs

      shall continue to be represented by the Southern Poverty Law Center and other Counsel of

      record.




                so ORDERED this(j-^dav of ^1Xa>A-                              ,2020.




                                                                                  M.
                                                                    Leonie M- Briiiketnl
                                                                    United States District Judge
